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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

     UMG RECORDINGS, INC., et al.,

            Plaintiffs,

                v.                                        Case No. 8:19-cv-00710-MSS-TGW

     BRIGHT HOUSE NETWORKS, LLC,

            Defendant.


     PLAINTIFFS’ SUBMISSION OF SUPPLEMENTAL SCHEDULING REPORT AND
         NOTICE OF FORTHCOMING JOINT PROPOSED CASE SCHEDULE

           Pursuant to the Court’s May 19 Order Concerning Civil Cases (ECF No. 133),

    Plaintiffs submit the attached Supplemental Scheduling Report (“SSR”), which automatically

    extends all deadlines outstanding as of March 19 by ninety (90) days.

           In addition, Plaintiffs hereby notify the Court that the parties intend to jointly file a

    proposed case schedule on June 2, 2020, as required by the Court’s May 12 Scheduling

    Order for this case (ECF No. 131). The parties are conferring on the proposed schedule,

    which will include changes consistent with the Court’s re-designation of this case from Track

    Two to Track Three and will supersede the dates reflected in the attached proposed SSR.



     Dated: May 26, 2020                              /s/ Bryan D. Hull

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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 26, 2020 I caused the foregoing document and all

    supporting materials thereto to be filed electronically with the Clerk of the Court using the

    CM/ECF system, which will send a notice of electronic filing to all counsel of record

    registered with CM/ECF.


                                                          /s/ Bryan D. Hull
                                                          Attorney




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                       SUPPLEMENTAL SCHEDULING REPORT


                                    CURRENT DEADLINE    AMENDED DEADLINE
  Mandatory Initial Disclosures
                                    Completed           Expired
  Certificate of Interested
  Persons and Corporate
                                    Completed           Expired
  Disclosure Statement

  Motions to Add Parties or to
  Amend Pleadings                   Completed           Expired
  Disclosure of Expert Reports

        Plaintiff:                  April 10, 2020      July 9, 2020
                                    May 11, 2020        August 10, 2020
        Defendant:

  Discovery Deadline
                                    June 11, 2020       September 9, 2020
  Dispositive Motions, Daubert,
  and Markman Motions               August 4, 2020      November 2, 2020
  Meeting In Person to Prepare
  Joint Final Pretrial Statement    December 4, 2020    March 4, 2021
  Joint Final Pretrial Statement
  (See Section III. B.)             December 14, 2020   March 15, 2021

  All Other Motions Including
  Motions In Limine                 January 4, 2021     April 5, 2021
  Trial Briefs and Deposition
  Transcripts with Designations
  Highlighted                       January 11, 2021    April 12, 2021

        Trial Term
                                    February 2021       May 2021
  Parties shall be prepared to
  try this case anytime during
  the trial term. A more specific
  date will follow, by separate
  notice.

  Mediation Deadline
                                    March 27, 2020      June 25, 2020
